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                    IN THE UNITED STATES DISTRICT COURT FOR
                      THE NORTHERN DISTRICT OF OKLAHOMA

 MARILYN PHILLILPS,                         )
                                            )
                      Plaintiff,            )
                                            )          Case No. 17-CV-547-JHP-JFJ
 v.                                         )
                                            )          Judge James H. Payne
 FARMERS INSURANCE                          )
 COMPANY, INC.,                             )
                                            )
                      Defendant.            )

                            PLAINTIFF'S FINAL EXHIBIT LIST

        Comes now the Plaintiff, Marilyn Phillips, and for her Final Exhibit List, provides the

 following:

                                          EXHIBITS

 No.   Description
 1.    Medical records from Dr. James Rodgers
 2.    Medical records from Central States Orthopedic Center and Dr. Jeff Fox
 3.    Medical records from Neurological Associates of Tulsa
 4.    Medical records from St. Francis Health System
 5.    Prescription records from Sam’s Pharmacy
 6.    Medical records from Oklahoma Surgical Hospital
 7.    Medical records from Warren Clinic, Dr. Stephen Fincher and Alexandra Fifer
 8.    Medical records from Med Center
 9.    Medical records from St. Francis Health Zone
 10.   Medical records from Dr. Anthony Economou
 11.   Medical records from Dr. John Saurino and Surgery Works, PC
 12.   Medical records from Dr. Richard Hastings
 13.   Medical records from Dr. Christina Kendrick and Tulsa Dermatology Clinic, Inc.
 14.   Medical records from Pinnacle Specialty Hospital
 15.   Medical records from Dr. David Mokhtee and Tulsa Bone and Joint Associates
 16.   Medical records from Union Pines Surgery Center
 17.   Medical records and photos from Dr. J. Matthew Roberts and The Eye Institute
 18.   Medical records from Neurological Center of Oklahoma
 19.   Medical records from Associated Anesthesiologist
 20.   Medical records from Sooner Anesthesia Services
 21.   Medical records from Radiology Consultants
 22.   Medical records from Envision Imaging of Tulsa
 23.   Medical records from Otto Bock Orthopedic
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 24.   Medical records from First Steps Orthopedics & Pros
 25.   Medical records from Regional Medical Laboratory
 26.   Medical records from St. Francis Outpatient Physical Therapy
 27.   Medical records from Physical Therapy of Tulsa
 28.   Prescription records from Saffa Compounding
 29.   Prescription records from GenScripts Pharmacy
 30.   Imaging records from Central States Orthopedic Center
 31.   Imaging records from Envision Imaging
 32.   Imaging records from St. Francis Outpatient
 33.   Imaging records from Tulsa Bone and Joint
 34.   Imaging records from Neurological Center of Oklahoma
 35.   Medical bills from Dr. James Rodgers
 36.   Medical bills from Central States Orthopedic Center and Dr. Jeff Fox
 37.   Medical bills from Neurological Associates of Tulsa
 38.   Medical bills from St. Francis Health System
 39.   Medical bills from Oklahoma Surgical Hospital
 40.   Medical bills from Warren Clinic, Dr. Stephen Fincher and Alexandra Fifer
 41.   Medical bills from Med Center
 42.   Medical bills from St. Francis Health Zone
 43.   Medical bills from Dr. Anthony Economou
 44.   Medical bills from Dr. John Saurino and Surgery Works, PC
 45.   Medical bills from Dr. Richard Hastings
 46.   Medical bills from Dr. Christina Kendrick and Tulsa Dermatology Clinic, Inc.
 47.   Medical bills from Pinnacle Specialty Hospital
 48.   Medical bills from Dr. David Mokhtee and Tulsa Bone and Joint Associates
 49.   Medical bills from Union Pines Surgery Center
 50.   Medical bills and photos from Dr. J. Matthew Roberts and The Eye Institute
 51.   Medical bills from Neurological Center of Oklahoma
 52.   Medical bills from Associated Anesthesiologist
 53.   Medical bills from Sooner Anesthesia Services
 54.   Medical bills from Radiology Consultants
 55.   Medical bills from Envision Imaging of Tulsa
 56.   Medical bills from Otto Bock Orthopedic
 57.   Medical bills from First Steps Orthopedics & Pros
 58.   Medical bills from Regional Medical Laboratory
 59.   Medical bills from St. Francis Outpatient Physical Therapy
 60.   Medical bills from Physical Therapy of Tulsa
 61.   Photos of Plaintiff’s right hand surgery – 6 photos
 62.   Photos of Plaintiff’s left hand surgery – 8 photos
 63.   Photos of Plaintiff’s left shoulder surgery – 13 photos
 64.   Photos of Plaintiff’s right shoulder surgery – 4 photos
 65.   Photos of Plaintiff’s eye surgery – 9 photos
 66.   Photos of Plaintiff’s shingles – 12 photos
 67.   Photos of Plaintiff’s vehicle – 2 photos
 68.   Police Report

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 69.   Medical literature
 70.   Demonstrative exhibits and medical illustrations
 71.   Farmers Claims File
 72.   Deposition transcript of Dr. David Mokhtee
 73.   Deposition transcript of Dr. Jeff Fox
 74.   Deposition transcript of Dr. Anthony Economou
 75.   Defendant exhibits not objected to


                                                             Respectfully Submitted:


                                                      By:    s/Anthony M. Laizure
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                                                             Attorney for Plaintiff


                                 CERTIFICATE OF SERVICE

         The undersigned does hereby certify that on the 25th day of April, 2018, I electronically
 transmitted the attached document to the Clerk of Court using the ECF System for filing. Based
 on the records currently on file, the Clerk of Court will transmit a Notice of Electronic Filing to
 the following ECF registrants:

 Robert Taylor, Esq.
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 Attorney for Defendant Farmers Ins. Co., Inc.

                                                      s/Anthony M. Laizure
                                                      Anthony M. Laizure




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